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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Northern Division)


 WILLIAM REID HOUCK
 VANESSA SANDRA HOUCK,

                Plaintiffs,                                Case No. 1:24-cv-01519-MJM

 v.

 NEWREZ LLC d/b/a SHELLPOINT
 MORTGAGE SERVICING,

                Defendant.


                      DEFENDANT’S REPLY IN SUPPORT OF ITS
                    MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

       Defendant NewRez LLC d/b/a Shellpoint Mortgage Servicing (“Shellpoint” or

“Defendant”), through its undersigned counsel and pursuant to Federal Rules of Civil Procedure

12(b)(6), hereby submits this Reply in Support of its Motion to Dismiss Plaintiffs’ Complaint, and

in support states as follows:


                                       INTRODUCTION

       Plaintiffs continue to press that their long-existing financial woes are attributable to

Shellpoint’s alleged (1) failure to meet the technical requirements of RESPA and Regulation X

and (2) false statements on which Plaintiffs did not even rely. While Shellpoint is sympathetic to

the Plaintiffs’ financial hardship, Plaintiffs’ dire situation began long before Shellpoint’s

involvement with Plaintiffs’ loan assumption. Plaintiffs do not adequately allege any claim for

which relief can be granted and do not allege any damages proximately caused by Shellpoint.

Accordingly, this Court should dismiss the complaint in its entirety.
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                                         ARGUMENT

I.     THE COURT SHOULD DISMISS PLAINTIFFS’ RESPA AND REGULATION X
       CLAIMS.

       A.      The cost of drafting and mailing their various requests and inquiries to
               Shellpoint do not constitute actual damages.

       “[D]amages are an essential element in pleading a RESPA claim.” Renfroe v. Nationstar

Mortg., LLC, 822 F.3d 1241, 1246 (11th Cir. 2016); cf. Read v. Cenlar FSB, No.

EDCV21504JGBSPX, 2021 WL 6618659, at *7 (C.D. Cal. Sept. 30, 2021) (“Plaintiff alleges that

Defendant never acknowledged receipt of Plaintiff’s QWR. . . . However, Plaintiff fails to allege

this violation caused his actual damages.”). Plaintiffs are required to allege that any alleged

RESPA or Regulation X violation was the proximate cause of their damages.

       Recognizing that their claimed damages all stem from their own actions, which predate

Shellpoint’s alleged statutory violations, Plaintiffs double-down on their argument that the costs

of drafting, preparing, and mailing of their multiple requests for information (“RFIs”) and their

purported notice of error (“NOE”), constitute actual damages under RESPA. In support, Plaintiffs

cite two Sixth Circuit cases: Marais v. Chase Home Fin. LLC, 736 F.3d 711 (6th Cir. 2013), in

which the Sixth Circuit remanded for consideration of the argument that costs incurred in preparing

a QWR were actual damages when the servicer’s response was deficient and therefore “were for

naught,” and Lanton v. Ocwen Loan Serv., LLC, 793 F. App’x 398, 401 (6th Cir. 2019), which

stated that the drafting and mailing of a QWR that a servicer inadequately responded to “may

sometimes” constitute actual damages. ECF 18 at 12.

       Plaintiffs stretch the reasoning of these cases to unrecognizable and unsupported bounds.

The proposition that the preparation of QWRs (which by their nature predate any violation)

constitute RESPA damages is against the overwhelming weight of authority nationwide, including

in this Circuit. See Akkus v. Rocket Mortg., LLC, ––– F. Supp. 3d ––––, 2024 WL 473733, at *6

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(D. Md. 2024) (citing Fox v. Statebridge Co., 629 F. Supp. 3d 300, 311 (D. Md. 2022))

(“Additionally, courts in the Fourth Circuit have rejected actual damages claims for voluntary

postage costs and attorneys’ fees associated with sending QWRs and follow-up letters.”); Fox, 629

F. Supp. 3d at 311 (citing Robinson v. Bank of Am., N.A., No. 21-cv-110-AJB-DEB, 2022 WL

837073, at *7 (S.D. Cal. Mar. 21, 2022)) (“And courts have similarly rejected voluntary postage

costs and attorneys’ fees associated with sending follow-up letters.”).

       Indeed, the majority of cases agree with the law of this District. For example, the Eleventh

Circuit has expressly rejected the Sixth Circuit’s holdings:

       For similar reasons, we do not find persuasive Baez’s reliance on Sixth Circuit
       precedent, which appears to allow recovery for the initial costs of preparing and
       sending a request for information where the servicer gives a deficient response. See
       Marais v. Chase Home Finance LLC, 736 F.3d 711, 721 (6th Cir. 2013) (“[T]he
       district court’s determination that costs Marais incurred associated with preparing
       her [request] did not constitute actual damages did not take into account Marais’s
       argument that those costs were for naught due to Chase's deficient response, i.e.,
       her [request] expenses became actual damages when Chase ignored its statutory
       duties to adequately respond.”) (citation omitted). As explained above, the cost of
       preparing and sending the request, even if it is “for naught,” is not causally
       linked to the deficient response.

Baez v. Specialized Loan Serv., LLC, 709 Fed. App’x. 979, 983 (11th Cir. 2017) (emphasis added)

(alterations in original); see also Tanasi v. CitiMortgage, Inc., 257 F. Supp. 3d 232, 271 (D. Conn.

2017) (“[C]osts incurred before the violation occurred, such as the expenses of preparing an initial

request for information, cannot serve as the basis for actual damages.”); Miranda v. Ocwen Loan

Serv., LLC, 148 F. Supp. 3d 1349, 1355 (S.D. Fla. 2015) (“[C]osts incurred while preparing a

qualified written request for information from a servicer cannot serve as a basis for damages

because, at the time those expenses are incurred, there has been no RESPA violation.”); Naimoli

v. Ocwen Loan Serv., LLC, 613 F. Supp. 3d 681, 699 (W.D.N.Y. 2020), rev’d on other grounds

Naimoli v. Ocwen Loan Serv., LLC, 22 F.4th 376 (2d Cir. 2022) (“Plaintiff cannot obtain damages



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for the expenses associated with the sending of the RFIs, which then precipitated the alleged

RESPA violations.”); Dunkle v. Bank of N.Y. Mellon, 3:11-cv-1242, 2013 WL 1910310, at *6,

(M.D. Tenn. April 16, 2013) (holding the “[c]osts of preparing and sending a QWR” and “the costs

of filing suit will not satisfy” RESPA’s actual damages requirement”); cf. Kevelighan v. Trott &

Trott, P.C., No. 09–12543, 2011 WL 2076336, at *4 (E.D. Mich. May 26, 2011) (“Allowing the

costs of filing suit to satisfy the actual damages requirement of § 2605(f) would render the phrase

‘as a result of the failure’ superfluous, as a borrower would incur such damages simply by filing

her action.”).

        Despite Plaintiffs’ attempts to complicate the issue, the reason that costs associated with

QWR preparation are not actual damages is very simple: damages must flow directly from a

servicer’s failure to meet its obligations. Costs that are incurred before the violation cannot

possibly “flow” from the violation. “Recovery under RESPA requires more than establishing a

violation; a plaintiff must suffer actual, demonstrable damages, and the damages must occur ‘as a

result of’ that specific violation.” Tsakanikas v. JP Morgan Chase Bank N.A., No. 2:11-CV-888,

2012 WL 6042836, at *2 (S.D. Ohio Dec. 4, 2012). “Therefore, a plaintiff asserting a RESPA

violation must allege actual damages that are causally related to a failure to properly respond to a

QWR.” Id. This Court should reject Plaintiffs’ argument that their costs of preparing their letters

to Shellpoint are actual damages.

        B.       Plaintiffs provided a payoff statement in a timely manner.

        Neither RESPA nor Regulation X have a requirement to provide a payoff statement within

a specific time-period. Indeed, Regulation X explicitly states that “[a] request for a payoff balance

need not be treated by the servicer as a request for information,” and thus, it does not trigger the

response requirements. 12 C.F.R. § 1024.36(a).



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       Plaintiffs now allege that, even if Shellpoint was not in violation of RESPA or Regulation

X relating to providing Plaintiffs a payoff statement, Shellpoint was still required to provide a

payoff statement in seven days under the Truth in Lending Act (“TILA”). The complaint alleges

two Counts: (1) Violations of 12 C.F.R. §§ 1024.35, 1024.36 and 12 U.S.C. §§ 2605(e) and(k);

and (2) Violations of Maryland’s Consumer Protection Act, Com. Law § 13-101, et seq. See ECF

1-2. The complaint does not allege a TILA violation. “[A]llegations raised for the first time in

response to a motion to dismiss are not properly considered by the court.” Glenn v. Wells Fargo

Bank, N.A., No. CV DKC 15-3058, 2016 WL 3570274, at *3 (D. Md. July 1, 2016); AMA Sys.,

LLC v. 3B Tech, Inc., No. 1:21-CV-01472-JRR, 2023 WL 7410854, at *4 (D. Md. Nov. 9, 2023)

(“It is axiomatic that the complaint may not be amended by the briefs in opposition to a motion to

dismiss.”) (quoting Mylan Labs., Inc. v. Akzo, N.V., 770 F. Supp. 1053, 1068 (D. Md. 1991)). This

Court should not consider Plaintiffs’ new TILA claim set forth in their opposition.

       C.      Shellpoint was not required to “acknowledge” RFI #2, and its response to RFI
               #2 was fully compliant with Regulation X.

       Plaintiffs repeat their unsupported contention that Shellpoint failed to acknowledge RFI

#2, and now for the first time in opposing Shellpoint’s Motion to Dismiss, allege that Shellpoint’s

response to RFI #2 was deficient.

       First, Shellpoint was not required to meet the five-day acknowledgement requirement for

RFI #2, which it received on January 8, 2024, because Shellpoint substantively responded to RFI

#2 on January 11, 2024 instead – well within the five-day period. Regulation X specifically

provides for this option. See 12 C.F.R. § 1024.36(c) (“Alternative compliance. A servicer is not

required to comply with paragraphs (c) and (d) of this section [the 5-day acknowledgement

requirement] if the servicer provides the borrower with the information requested and contact

information, including a telephone number, for further assistance in writing within five days

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(excluding legal public holidays, Saturdays, and Sundays) of receiving an information request.”).

Plaintiffs do not allege that they did not receive Shellpoint’s substantive January 11, 2024 response

within 5 days, nor does the Complaint allege that the response lacked any of the necessary

information required to satisfy 12 C.F.R. § 1024.36(c)’s “alternative compliance” provision.

       Second, Plaintiffs, now for the first time in their opposition to Shellpoint’s Motion to

Dismiss, allege that Shellpoint’s January 11, 2024 response was substantively deficient. ECF 18

at 13. This Court should not consider Plaintiffs’ new allegations set forth in their opposition. See

supra Section I.B.     Should the Court consider Plaintiffs’ new allegations, however, those

allegations are meritless. Plaintiffs now argue that Shellpoint’s January 11, 2024 response cannot

be responsive to RFI #2 because the response states that it is in reference to Plaintiffs’ December

2023 correspondence. ECF 18 at 13. This argument is a red herring. It is clear from reading

Shellpoint’s actual January 11, 2024 response that it is directly responsive to Plaintiffs’ January

2024 RFI #2. For example, RFI #2 requested, for the first time, a mortgage transaction history for

the life of the loan. ECF 1-10. Shellpoint enclosed a copy of the loan history statement from April

28, 2021 to the present, explaining that that is the date on which the loan was service transferred

to Shellpoint. ECF 1-12. RFI #2 requested, for the first time, a true and accurate copy of the

original note related to the loan. ECF 1-10. Shellpoint provided said copy and additionally noted

it is not required to provide original wet ink documents. ECF 1-12.

       The only specific deficiency alleged by Plaintiffs in their Opposition to Shellpoint’s

Motion to Dismiss is that Shellpoint’s January 11, 2024 response did not provide servicing notes.

ECF 18 at 13. Shellpoint responded that it was not required to provide documents that constitute

confidential, proprietary, or privileged information, and stated it would not be providing servicing

notes unless subpoenaed for a court case. ECF 1-12. “RESPA requires a loan servicer to provide



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‘information requested by the borrower or an explanation of why the information requested is

unavailable or cannot be obtained by the server.’ The statute, however, does not require a lender

to provide documents that it relied upon to answer a request for information when those documents

constitute confidential, proprietary, or privileged information.” Dawoudi on behalf of Plaintiff v.

Nationstar Mortg., LLC, 448 F. Supp. 3d 918, 927 (N.D. Ill. 2020) (citing 12 U.S.C. §

2605(e)(2)(C); 12 C.F.R. § 1024.35(e)(4)). In addition, Shellpoint’s response undercuts Plaintiffs’

allegation that Shellpoint’s letter was not sent in response to RFI #2 since RFI #2 clearly requested

servicing notes. The Court should reject Plaintiffs’ new and meritless arguments.

       D.      Shellpoint was not required to respond to Plaintiffs’ Notice of Error, but did
               so anyway and responded in full compliance with Regulation X.

              i.       Plaintiffs’ NOE did not allege servicing related errors.

       Shellpoint only has an obligation to respond to a Notice of Error (or QWR that asserts an

error) if it asserts a servicing related error. See Poindexter v. Mercedes-Benz Credit Corp., 792

F.3d 406, 413 (4th Cir. 2015). Plaintiffs do not dispute that their January 30, 2024 NOE to

Shellpoint asserts alleged errors related to the loan assumption process. See ECF 1-13.

       As a threshold matter, Section 1024.35(b) identifies a list of eleven “covered errors” that

trigger a servicer’s duties to investigate and respond. 12 C.F.R. § 1024.35(b). The first ten on the

list of covered errors include failure to accept a payment, failure to credit a payment, imposition

of a fee without a reasonable basis for imposing it, among others. Id. The eleventh “covered error”

is the “catch all provision” and covers “any other error relating to the servicing of a borrower’s

mortgage loan.” Plaintiffs’ complaint and NOE allege a violation of 12 C.F.R. § 1024.35(b)(11),

the catch-all provision, thus conceding that the alleged assumption related error is not among the

first ten covered errors identified in § 1024.35(b). ECF 1-2 ¶¶ 51-52. Now Plaintiffs, for the first

time, assert that the alleged errors also implicate § 1024.35(b)(6)’s “requirement to respond to

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requests to correct errors relating to a final balance for purposes of paying off a mortgage loan.”

ECF 18 at 14. For the same reasons as stated above, this Court should reject Plaintiffs’ attempt to

amend their complaint by way of their response to Shellpoint’s Motion to Dismiss. Glenn v. Wells

Fargo Bank, N.A., No. CV DKC 15-3058, 2016 WL 3570274, at *3 (D. Md. July 1, 2016); Mylan

Labs., Inc. v. Akzo, N.V., 770 F. Supp. 1053, 1068 (D. Md. 1991).

       There is only one case that has been identified by either side relating to whether a loan

assumption is a servicing related error implicating RESPA and Regulation X, and that case

undermines Plaintiffs’ contentions. The court in Gibbs v. Ocwen Loan Serv., LLC was explicit

that the plaintiff’s requests and inquiries to the mortgage servicer regarding updates on the loan

assumption process “did not relate to the servicing of the loan as defined by RESPA. The loan

assumption process relates to attempts to alter the alleged contractual relationship between

Plaintiff and her creditor and not accepting and applying scheduled payments under the terms of

the loan.”   No. 1:16-CV-1459-ODE-LTW, 2017 WL 11001709, at *1 (N.D. Ga. July 26,

2017), report and recommendation adopted, No. 1:16-CV-1459-0DE-LTW, 2017 WL 11001708

(N.D. Ga. Aug. 23, 2017) (emphasis added).

       In an attempt to escape the inevitable conclusion that a loan assumption is not related to

servicing and thus, cannot trigger the response requirements of RESPA and Regulation X,

Plaintiffs argue that Gibbs is based on “outdated case law that wrongfully held that loss mitigation

was not related to servicing. . . .” ECF 18 at 17. For their argument, Plaintiffs rely on the Second

Circuit’s Naimoli v. Ocwen Loan Serv., LLC, 22 F.4th 376, 383 (2d Cir. 2022), which concluded

that the district court erred in holding that the borrower’s asserted errors that related to their loan

modification were not servicing related errors covered by the catch-all provision of Regulation X.

In doing so, Plaintiffs ignore that Fourth Circuit decision in Morgan v. Caliber Home Loans, Inc.,



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26 F.4th 643 (4th Cir. 2022), decided one month later, binding on this Court, and holding the exact

opposite:

       Although we have not directly addressed the issue of whether a modification, or
       potential modification, of a contract constitutes servicing protected by RESPA, we
       have previously found the Ninth Circuit’s treatment of the issue in Medrano v.
       Flagstar Bank, FSB, 704 F.3d 661 (9th Cir. 2012), to be instructive. In Medrano,
       the Ninth Circuit concluded RESPA “distinguishes between letters that relate to
       borrowers’ disputes regarding servicing, on the one hand, and those regarding the
       borrower’s contractual relationship with the lender, on the other.” 704 F.3d at 667.
       Consequently, the Ninth Circuit held that “challenges to the terms of the loan and
       mortgage documents” are not disputes regarding servicing under RESPA. Id.
       Similarly, in Poindexter v. Mercedes-Benz Credit Corp., we emphasized that
       “servicing” is limited to “the receiving or making of loan payments” and is not
       related to “the terms of the loan and mortgage documents.” 792 F.3d at 413 (citing
       12 U.S.C. § 2605(i)(3)). Thus, correspondence limited to the dispute of
       contractual issues that do not relate to the servicing of the loan, such as loan
       modification applications, do not qualify as QWRs. A loan modification is a
       contractual issue, not a servicing matter.

Id. at 650–51 (emphasis added). Like loss mitigation and loan modifications, a loan assumption

relates to the contractual relationship between Plaintiff and her creditor, Gibbs, 2017 WL

11001709, at *1, which, under Fourth Circuit law, is not a servicing matter. Morgan, 26 F.4th at

651. Shellpoint was under no obligation to respond to Plaintiffs’ loan assumption related NOE.

             ii.      Plaintiffs’ NOE was substantially similar to their prior inquiries, and
                      Shellpoint responded appropriately.

       Plaintiffs contend that Shellpoint’s February 7, 2024 response to their January 30, 2024

NOE did not comply with 12 C.F.R. § 1024.36(f)(2). This is incorrect. 12 C.F.R. § 1024.36(f)(2)

provides:

       If a servicer determines that, pursuant to this paragraph (f), the servicer is not
       required to comply with the requirements of paragraphs (c) and (d) of this section,
       the servicer shall notify the borrower of its determination in writing not later than
       five days (excluding legal public holidays, Saturdays, and Sundays) after making
       such determination. The notice to the borrower shall set forth the basis under
       paragraph (f)(1) of this section upon which the servicer has made such
       determination.



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As previously stated, Plaintiffs’ NOE was duplicative of previous requests they had sent to

Shellpoint. ECF 9-1 at 7. A servicer is not required to comply with the response and investigation

requirements of RESPA and Regulation X if the servicer reasonably determines that the

information requested is substantially the same as information previously requested by the

borrower for which the servicer has previously complied with its obligation to respond. 12 C.F.R.

§ 1024.36(f)(i). Accordingly, since Shellpoint determined that it was not required to comply with

the requirements of paragraphs (c) and (d) because the NOE was duplicative and already responded

to, all Shellpoint was required to do was notify the borrower in writing in five days setting forth

that basis. It did precisely that. ECF 1-14. Shellpoint stated explicitly, “Shellpoint’s records

indicate we have previously received the same or a similar correspondence, and we have already

responded. Since the correspondence did not provide any new or additional information for us to

form the basis for a new investigation, our response remains the same.” Id. Plaintiffs’ contention

that “[t]here is no allegation or exhibit attached to the Motion showing that Shellpoint sent

correspondence pursuant to 12 C.F.R. § 1024.36(f)(2)” is patently false, and the claim should be

dismissed.

       For similar reasons, Plaintiffs’ claim that Shellpoint failed to conduct a reasonable

investigation in response to their asserted errors should be rejected as well. See ECF 18 at 17. It

is clear from Shellpoint’s lengthy January 11, 2024 response to RFI #2 and Plaintiffs’ various

Consumer Financial Protection Bureau (“CFPB”) complaints that Shellpoint had thoroughly

investigated Plaintiffs’ claims and asserted errors, provided guidance and any information

requested, and concluded that no error has occurred. ECF 1-12. When faced with Plaintiffs’

subsequent January 30, 2024 NOE, Shellpoint’s only obligation was to respond as it did on

February 7, 2024 stating that no new information has been provided, and that its determination



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remains the same. 12 C.F.R. § 1024.36(f)(i). There was no reason for Shellpoint to conduct an

identical investigation in response to Plaintiffs’ NOE that it had already conducted in response to

Plaintiffs’ prior RFIs and CFPB complaints.

       E.      Plaintiffs still fail to allege a pattern or practice of Shellpoint’s noncompliance
               with RESPA and Regulation X.

       Faced with authority stating that citing the CFPB database and attaching vague complaints

from others is insufficient to establish a pattern or practice of noncompliance, see Lynch v. Wells

Fargo Bank, N.A., No. 18-23560-CIV, 2019 WL 13202780, at *17-18 (S.D. Fla. June 19, 2019);

Bennett v. Nationstar Mortg., LLC, No. CV 15-001650KD-C, 2015 WL 5294321 at *12 (S.D. Ala.

Sept. 8, 2015), Plaintiffs now pivot and argue that Shellpoint’s repeated failures in this matter in

responding to Plaintiffs’ many requests, inquiries, and notices sufficiently alleges a pattern and

practice of noncompliance. ECF 18 at 21. For the reasons stated above, none of the allegations

of Shellpoint’s misconduct are sufficient to adequately state an actionable RESPA or Regulation

X violation, let alone constitute a pattern or practice of noncompliance. Cf. Morgan v. Caliber

Home Loans, Inc., No. 8:19-CV-02797-PX, 2024 WL 732028, at *5 (D. Md. Feb. 22, 2024)

(“According to Morgan, Caliber’s single AUD constitutes a pattern and practice because Caliber

forwarded it three credit reporting agencies and violated multiple RESPA provisions. But the fact

remains that Caliber submitted one AUD on one occasion. If this alone were sufficient to establish

a pattern and practice, then the ‘pattern and practice’ requirement sufficient to trigger enhanced

damages would apply in almost every case.”) (internal citations omitted).

II.    PLAINTIFFS’ MARYLAND CONSUMER PROTECTION ACT CLAIM SHOULD
       BE DISMISSED.

       Plaintiffs continue to claim they were deceived and suffered damages in reliance on

Shellpoint’s misrepresentations relating to the loan assumption process. In reality, none of



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Shellpoint’s statements were false, misleading, or deceptive, and most importantly, Plaintiffs

suffered no damages in reliance on those alleged misrepresentations.

       First, Plaintiffs continue to ignore the fact that Shellpoint repeatedly informed them that an

assumption can be completed by bringing the loan current through sale proceeds, consistent with

the VA Circular Guidelines and Handbook. ECF 1-6 (“If you are unable to bring the loan current

with sale proceeds and would like to be review[ed] for an assumption with a loan modification,

please contact our Loss Mitigation Department . . . .”); ECF 1-8 (“The second option provided was

to bring the loan current with the sale proceeds and then the assumption could be completed . . .

.”). Even if Shellpoint was misinformed that the potential sale fell through on November 8, 2023,

it still clearly represented that using sale proceeds was an option, and thus, had the sale not actually

fallen through as Plaintiffs now claim, Plaintiffs should have known that using sale proceeds to

complete the assumption was still an option. They could have informed Shellpoint the sale was

still on and that the loan would be brought current through cash at closing. Shellpoint’s alleged

misunderstanding of the status of the sale had no bearing on its willingness to allow Plaintiffs to

use sale proceeds to bring the loan current and complete the assumption, nor did Shellpoint ever

state such.

       Second, Plaintiffs do not adequately plead that they relied upon Shellpoint’s alleged

misrepresentations, let alone suffered damages as a result of that reliance. Principally, Plaintiffs

cannot disentangle the damages that they claim were caused by Shellpoint’s alleged misconduct

from their previously existing financial hardships. For example, Shellpoint’s alleged misconduct

had nothing to do with Plaintiffs not being able to make a single mortgage payment for a year prior

to even beginning the loan assumption process, had nothing to do with Plaintiffs’ two requests for




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covid-related loan forbearance, and had nothing to do with Plaintiffs’ decision to buy a home in

Maryland and take on a mortgage debt, while already having a home in California.

       Plaintiffs cannot plausibly allege that all of their alleged damages and hardship outlined in

the Complaint (¶¶ 60-62) were caused by Shellpoint’s alleged technical failures in responding to

Plaintiffs’ many requests and inquiries and alleged misrepresentations that were neither false or

misleading and on which Plaintiffs did not rely. For instance, and to add some color to Plaintiffs’

hyperbolic damages causation assessment, the opposition states that “Plaintiffs are still prohibited

from selling the Property and satisfying their obligations on the Loan.” However, a cursory search

of public online databases revealed that Plaintiffs sold their home on June 26, 2024 – over a week

before Plaintiffs’ opposition to Shellpoint’s Motion to Dismiss was filed. See Exhibit 1, June 26,

2024 Deed. Plaintiffs cannot tie their alleged damages to Shellpoint’s conduct, and their MCPA

claim should be dismissed.

                                         CONCLUSION

         WHEREFORE, for the reasons set forth above, Defendant NewRez LLC d/b/a

 Shellpoint Mortgage Servicing respectfully requests that the Court dismiss Plaintiffs’

 Complaint in its entirety and with prejudice.



                               [Signature follows on the next page]




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Dated: August 12, 2024            Respectfully submitted,



                                    /s/ Melissa O. Martinez
                                  Melissa O. Martinez (Fed. Bar No. 28975)
                                  Nicholas B. Jordan (Fed. Bar. No. 22067)
                                  MCGUIREWOODS LLP
                                  500 East Pratt Street, Suite 1000
                                  Baltimore, Maryland 21202-3169
                                  (410) 659-4400
                                  (410) 659-4482 Fax
                                  mmartinez@mcguirewoods.com
                                  njordan@mcguirewoods.com

                                  Counsel for Defendant NewRez LLC d/b/a
                                  Shellpoint Mortgage Servicing




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 12, 2024, a copy of the foregoing Defendant NewRez

LLC d/b/a Shellpoint Mortgage Servicing’s Reply in Support of its Motion to Dismiss Plaintiffs’

Complaint, and Exhibit was electronically filed and served via the Court’s CM/ECF system on all

counsel of record.




                                                   /s/ Melissa O. Martinez
                                                   Melissa O. Martinez




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